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 6
                             UNITED STATES DISTRICT COURT
 7                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 8

 9   UNITED STATES OF AMERICA,                            NO. MJ10-249

10                                 Plaintiff,

11          v.                                            DETENTION ORDER
12   MANUEL GUADALUPE
13   RAMOS-CHAIDEZ,

14                                 Defendant.

15
     Offense charged:
16

17          Count 1:        Conspiracy to Distribute Methamphetamine, in violation of 21 U.S.C. §§
                            841(a)(1), 841(b)(1)(A) and 846
18
     Date of Detention Hearing: June 11, 2010
19
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
20
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
21
            FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
22
            (1)     Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that
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                    defendant is a flight risk and a danger to the community based on the nature of
24
                    the pending charges. Application of the presumption is appropriate in this case.
25
            (2)     Defendant is a citizen of Mexico.
26


     DETENTION ORDER
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           (3)   An immigration detainer has been placed on defendant by the United States
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                 Immigration and Customs Enforcement.
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           (4)   Defendant has stipulated to detention, but reserves the right to contest his
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                 continued detention if there is a change in circumstances.
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           (5)   There are no conditions or combination of conditions other than detention that
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                 will reasonably assure the appearance of defendant as required or ensure the
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                 safety of the community.
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           IT IS THEREFORE ORDERED:
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           (1)   Defendant shall be detained and shall be committed to the custody of the
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                 Attorney General for confinement in a correction facility separate, to the extent
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                 practicable, from persons awaiting or serving sentences or being held in custody
12
                 pending appeal;
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           (2)   Defendant shall be afforded reasonable opportunity for private consultation with
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                 counsel;
15
           (3)   On order of a court of the United States or on request of an attorney for the
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                 government, the person in charge of the corrections facility in which defendant
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                 is confined shall deliver the defendant to a United States Marshal for the
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                 purpose of an appearance in connection with a court proceeding; and
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           (4)   The Clerk shall direct copies of this Order to counsel for the United States, to
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                 counsel for the defendant, to the United States Marshal, and to the United States
21
                 Pretrial Services Officer.
22
           DATED this 11th day of June, 2010.
23

24                                              A
                                                JAMES P. DONOHUE
25                                              United States Magistrate Judge
26


     DETENTION ORDER
     18 U.S.C. § 3142(i)
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